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                                                                               2021 Sep-23 PM 04:00
                                                                               U.S. DISTRICT COURT
                                                                                   N.D. OF ALABAMA


                  UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF ALABAMA
                         JASPER DIVISION

MARIO JERRELL PREWITT,                   )
                                         )
      Plaintiff,                         )
                                         )
v.                                       )   Case No. 6:20-cv-00722-LCB-SGC
                                         )
ADAM SMITH,                              )
                                         )
      Defendant.                         )

                         MEMORANDUM OPINION

      The Magistrate Judge entered a Report on August 30, 2021, recommending

Defendant’s Special Report be treated as a Motion for Summary Judgment and

further recommending that the Motion be granted. (Doc. 31). Although the parties

were advised of their right to file specific written objections within 14 days, the

Court has received no objections.

      Having carefully reviewed and considered de novo all the materials in the

Court file, including the Report and Recommendation, the Court ADOPTS the

Magistrate Judge’s Report and ACCEPTS her Recommendation. Accordingly,

the Court ORDERS that the Defendant’s Motion for Summary Judgment is

GRANTED, the Court finding no genuine issues of material fact exist.
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DONE and ORDERED September 23, 2021.



                           _________________________________
                           LILES C. BURKE
                           UNITED STATES DISTRICT JUDGE




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